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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE


 G.K., by their next friend, Katherine Cooper,              )
 et al.                                                     )
                                                            )
 Plaintiffs,                                                )
                          v.                                )
                                                            )   Case No. 1:21-cv-0004
 Christopher Sununu, in his official capacity               )
 as the Governor of New Hampshire, et al.                   )
                                                            )
 Defendants.                                                )
                                                            )
                                                            )
                                                            )

  DEFENDANTS’ ASSENTED-TO MOTION FOR EXTENSION OF TIME TO FILE
 MOTION TO EXCLUDE PLAINTIFFS’ EXPERT TESTIOMNY AND REQUEST FOR
      EXPEDITED TREATMENT IN LIGHT OF JUNE 13, 2023, DEADLINE

        Defendants, by and through their counsel, hereby request an extension of time to file their

Motion to Exclude Plaintiffs’ Expert Testimony (see ECF Nos. 152-2–152-17) under Fed. R. Civ.

P. 702 for the following reasons:

        1. On March 31, 2023, Plaintiffs filed their Motion for Class Certification, Memorandum

               in Support of the same, subsequent declaration in support of the same, and a total of

               48 exhibits, including at least 16 exhibits containing expert materials. ECF Nos. 152-

               153. Plaintiffs filed materials for four expert witnesses, amounting to more than 1,000

               pages in expert materials alone. See ECF Nos. 152-2–152-17.

        2. Local Rule 7.2(b) requires parties to file a “motion to strike material offered in support

               of . . . a motion . . . within fourteen (14) days of the filing of the motion . . . to which

               the objected-to material is attached.”




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      3. Defendants plan to file a Motion to Exclude Plaintiffs’ Expert Testimony, and do not

          understand it to be a “motion to strike” as contemplated under the Local Rules. See

          Local Rule 2.3(h) (concerning “strik[ing] . . . inappropriately filed document[s]” from

          the docket). Defendants are not seeking to strike the expert reports from the docket,

          but rather are requesting that the Court find that testimony inadmissible. As a result,

          Defendants do not understand the 14-day deadline to apply here.

      4. Moreover, Defendants believe that the deadline to submit the Motion to Exclude

          Plaintiffs’ Expert Testimony is governed by the Court’s Order on the parties’ Joint

          Motion to Extend the Briefing Deadline for Class Certification (see ECF. No. 158),

          which sets June 13, 2023, as the deadline for Defendants to respond to Plaintiffs’

          Motion for Class Certification.

      5. However, out of an abundance of caution, Defendants submit this Motion for Extension

          of Time to ensure Defendants may file their Motion to Exclude on June 13, 2023.

      6. Plaintiffs assent to the relief requested by this motion. L.R. 7.1(c).

      7. Expedited consideration of this motion is warranted given the upcoming June 13,

          2023, deadline to reply to Plaintiffs’ Motion for Class Certification.

WHEREFORE, Defendants respectfully requests that this Honorable Court:

      A. Grant this motion and allow Defendants to file a Motion to Exclude Plaintiffs’ Expert

          Testimony on June 13, 2023; and

      B. Grant such other and further relief as justice requires.




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                                    Respectfully submitted,

June 7, 2023                        /s/ Nathan W. Kenison-Marvin
                                    Nathan W. Kenison-Marvin, Bar No. 270162
                                    Assistant Attorney General
                                    Jennifer S. Ramsey, Bar No. 268964
                                    Senior Assistant Attorney General
                                    Office of the Attorney General (Civil Bureau)
                                    New Hampshire Department of Justice
                                    33 Capitol Street
                                    Concord, NH 03301-6397
                                    (603) 271-3650
                                    jennifer.s.ramsey@doj.nh.gov
                                    nathan.w.kenison-marvin@doj.nh.gov
                                    Attorneys for Defendants

                                    /s/ Philip J. Peisch
                                    Julia M. Siegenberg
                                    Philip J. Peisch
                                    Caroline M. Brown
                                    Kendra Doty
                                    Lara Rosenberg
                                    Brown & Peisch PLLC
                                    1233 20th St. NW, Suite 505
                                    Washington, DC 20036
                                    jsiegenberg@brownandpeisch.com
                                    ppeisch@brownandpeisch.com
                                    lrosenberg@brownandpeisch.com
                                    Attorneys for Defendants




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                                   CERTIFICATE OF SERVICE
         I hereby certify that a copy of the foregoing was sent by ECF on June 7, 2023, to counsel

of record.


     Dated: June 7, 2023
                                                                    /s/ Philip J. Peisch
                                                                    Philip J. Peisch
                                                                    Attorney for Defendants




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